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  IT IS ORDERED as set forth below:




  Date: September 28, 2020
                                                   _____________________________________
                                                              Lisa Ritchey Craig
                                                         U.S. Bankruptcy Court Judge


 _______________________________________________________________

                    UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN THE MATTER OF:                          :         CASE NUMBERS
                                           :
JOSEPH H. HARMAN,                          :         BANKRUPTCY CASE
                                           :         11-67522-LRC
  Debtor.                                  :
_________________________                  :
                                           :
CAROLYN T. MCAFEE, Executor of             :         ADVERSARY PROCEEDING
the Estate of James T. McAfee,             :         NO. 11-05534-LRC
                                           :
      Plaintiff,                           :
                                           :
      v.                                   :
                                           :
JOSEPH H. HARMAN,                          :         IN PROCEEDINGS UNDER
                                           :         CHAPTER 7 OF THE
      Defendant.                           :         BANKRUPTCY CODE

                                      ORDER

      On September 30, 2019, the Court entered an order granting the Partial Motion for

Summary Judgment on Counts 3, 4, and 5 of Plaintiff’s First Amended Complaint filed by
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Joseph H. Harman (“Defendant”) (Doc. 197) (the “Order”). Through the Order, the Court

explained that, because the claims held by the Estate of James T. McAfee were transferred

by Carolyn T. McAfee (“Plaintiff”) to her son Thomas McAfee III (“McAfee III”), in his

capacity as Trustee of Marital Trust #2, Plaintiff no longer owned the debt giving rise to

Counts 3, 4, and 5 of the First Amended Complaint and could not bring an action under §

523(a) regarding that debt. Although Plaintiff had filed a Motion for Substitution (the

“Substitution Motion”) seeking to substitute McAfee III as plaintiff, the Substitution

Motion had not been granted due to a lack of evidentiary support, leaving Plaintiff as the

only named plaintiff in this adversary proceeding. 1 Accordingly, the Court determined that

Defendant was entitled to partial summary judgment as a matter of law.

        On October 4, 2019, Plaintiff filed a Motion for Reconsideration and Memorandum

in Support (Doc. 199) (the “Motion for Reconsideration”), asserting that she had filed two

affidavits on October 9, 2018 (Docs. 186, 187) (the “Affidavits”) in support of the

Substitution Motion. Therefore, Plaintiff requested that the Court reconsider its Order

granting partial summary judgment to Defendant. On October 18, 2019, Defendant filed a

Response in Opposition to Plaintiff’s Motion for Reconsideration and Memorandum in

Support (Doc. 200) (the “Response”). In the Response, Defendant contends that the

Affidavits were not filed in support of the Substitution Motion, but were instead filed in



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  Defendant had previously filed a Preliminary Opposition and Objection to Plaintiff’s Motion for Substitution (Doc.
174) on April 7, 2017, contending that the Substitution Motion failed to specify which claims were purportedly
transferred or explain how the transfer occurred. Defendant then requested that Plaintiff be required to produce
evidence of the purported transfer. Through an order entered on June 23, 2017, the Court declined to grant the
Substitution Motion over Defendant’s objection, but granted Plaintiff leave to file an affidavit in support of the
Substitution Motion to provide Defendant with sufficient information regarding the transfer of the claims.

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support of Plaintiff’s Response in Opposition to Defendant’s Partial Motion for Summary

Judgment (Doc. 184) (the “Response in Opposition”).

         Through an order entered on February 5, 2020 (Doc. 204), the Court stated that,

although the Affidavits did not indicate that they were filed in support of the Substitution

Motion, the Court would, nonetheless, consider them in connection with the Substitution

Motion and allowed the parties an opportunity to file additional briefing. See Docs. 206

(the “Brief in Support”), 207 (the “Brief in Opposition”).

         In the Brief in Opposition, Defendant argues that the Substitution Motion should be

denied because (1) the Affidavits contain inadmissible legal conclusions that are

insufficient to support the Substitution Motion; and (2) since Plaintiff transferred the claims

held by the Estate of James T. McAfee to Marital Trust #2 on January 11, 2017, she no

longer held an enforceable § 523 nondischargeability claim and, therefore, had no good

faith basis to file the Substitution Motion. 2 Regarding Defendant’s first argument, the Court

finds that the Affidavits contain sufficient admissible facts to establish that the Estate of

James T. McAfee transferred its claims to Marital Trust #2. See Doc. 186 (stating “on

January 11, 2017, I [Carolyn T. McAfee] distributed the Claims to the marital-deduction

trust established under Item 7 of the Will—specifically Marital Trust #2”).

         As for Defendant’s second argument, that Plaintiff had no good faith basis to file the



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  Defendant also argues that the Substitution Motion should be denied because counts 3, 4, and 5 of the Amended
Complaint “did not survive” the transfer from the Estate of James T. McAfee to Martial Trust #2 because such transfers
are prohibited by O.C.G.A. § 44-12-23. This argument, however, is the subject of Defendant’s Partial Motion for
Summary Judgment (Doc. 179). Because, as explained herein, the Court finds it necessary to vacate its Order granting
Defendant’s Partial Motion for Summary Judgment, the Court declines to address these arguments in connection with
the Substitution Motion, and will instead do so in a subsequent order on Defendant’s Partial Motion for Summary
Judgment.

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Substitution Motion, the Court disagrees. Rule 25(c) of the Federal Rules of Civil

Procedure, made applicable to this adversary proceeding by Rule 7025 of the Federal Rules

of Bankruptcy Procedure, provides that: “[i]f an interest is transferred, the action may be

continued by or against the original party unless the court, on motion, orders the transferee

to be substituted in the action or joined with the original party.” Accordingly, the Federal

Rules of Civil Procedure provide a mechanism for transferees of causes of action to be

substituted in the place of the original party in interest. Moreover, Rule 25(c) makes clear

that this substitution may occur after the interest is transferred. Here, because the Affidavits

establish that the claims held by the Estate of James T. McAfee were transferred to McAfee

III, in his capacity as Trustee of Marital Trust #2, the Court finds that he may be substituted

as plaintiff in this adversary proceeding pursuant to Rule 25(c).

       As previously noted, the Court granted Defendant’s Partial Motion for Summary

Judgment because the debt giving rise to Plaintiff’s § 523 nondischargeability claims had

been transferred to McAfee III. Having found that McAfee III may be substituted as

plaintiff in this adversary proceeding, and because McAfee III owns the debt giving rise to

the nondischargability claims, the Court finds that it should vacate its previous Order

granting Defendant’s Partial Motion for Summary Judgment and reconsider Defendant’s

Partial Motion for Summary Judgment. The Court will do so without any additional briefing

from the parties, as the issues raised therein have been fully briefed. See Docs. 179-1, 184,

188, 196.

       Accordingly, for the reasons stated herein,

       IT IS HEREBY ORDERED that the Motion for Substitution (Doc. 173) filed by

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Carolyn T. McAfee, as Executor of the Estate of James T. McAfee, is GRANTED;

       IT IS FURTHER ORDERED that J. Thomas McAfee III, in his capacity as

Trustee of Marital Trust #2, is hereby substituted as plaintiff in this adversary proceeding;

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Reconsideration and

Memorandum in Support (Doc. 199) is hereby GRANTED;

       IT IS FURTHER ORDERED that the Order granting the Partial Motion for

Summary Judgment on Counts 3, 4, and 5 of Plaintiff’s First Amended Complaint filed by

Joseph H. Harman (Doc. 197) is hereby VACATED.

                                [END OF DOCUMENT]

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